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                                                                          3/2/2020

               IN THE UNITED ST ATES DISTRICT COURT

                   FOR THE DISTRICT OF MONT ANA

                               HELENA DIVISION

UNITED STATES OF AMERICA,                      CR 19-06-H-SEH

                         Plaintiff,            ORDER

       vs.

KIELAN BRETT FRANKLIN,
GERALD ALLEN HILER, alk/a Teg,
ARIELLE ROSE COWSER, and
MORGAN VICTOR PITSCH,

                         Defendants.

      A sentencing memorandum for Defendant Morgan Victor Pitsch ("Pitsch")

was due on February 4, 2020. None was filed.

      ORDERED:

Counsel for Defendant Pitsch shall file a sentencing memorandum on or before

4:45 p.m. on March 13, 2020.




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      DATED this,trJ day of March, 2020.




                                           United States District Judge
